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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SIMO HOLDINGS INC.,

             Plaintiff,                          18-cv-5427 (JSR)

      -against-                                  MEMORANDUM ORDER

 HONG KONG UCLOUDLINK NETWORK
 TECHNOLOGY LIMITED and
 UCLOUDLINK (AMERICA), LTD.,

             Defendants.



JED S. RAKOFF, U.S.D.J.

     SIMO    Holdings     Inc.   (“SIMO”)        prevailed     on   its   patent

infringement claims against defendant Hong Kong uCloudlink Network

Technology    Limited     and    its     U.S.     subsidiary    (collectively,

“uCloudlink”) in a trial last year. Since then, SIMO has twice

returned to the Court seeking to use confidential uCloudlink

documents produced in pretrial discovery in this action in a trade

secret misappropriation lawsuit in Shenzhen, China between SIMO

subsidiary   Skyroam    Shenzhen       and   a   uCloudlink    subsidiary   (the

“Chinese lawsuit”). First, SIMO asked this Court to modify the

Protective Order entered in this case, ECF No. 23, or to grant

discovery in aid of a foreign proceeding under 28 U.S.C. § 1782(a).

See Pl.’s Mot. for Discovery, ECF No. 306. The Court denied these

requests. Mem. Order, ECF No. 317, at 1.




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     Now, by letter dated December 1, 2020, SIMO asks the Court to

permit     disclosure    of   substantially    the   same   documents     (the

“uCloudlink confidential documents”)⁠1 pursuant to paragraph 21 of

the Protective Order and an Investigation Assistance Order from a

Chinese court. See Pl.’s Letter, ECF No. 320, at 1. However, in

its letter, SIMO also informs the Court, for the first time, that

“[i]n late November 2018” (i.e., over two years ago) plaintiff’s

counsel at K&L Gates LLP “made the . . . uCloudlink Confidential

Documents available to the [King & Wood Mallesons] attorneys” who

at that time represented Skyroam Shenzhen in a related Chinese

patent infringement lawsuit and who now represent Skyroam Shenzhen

in the Chinese lawsuit. Id. at 1–2. In response, defendants not

only oppose disclosure but also seek to have the Court impose

sanctions for the unauthorized disclosure to King & Wood Mallesons.

See Def.’s Letter 1, 4. Plaintiff, in turn, denies that the

disclosure was unauthorized. Pl.’s Reply 1.

     After careful review, the Court denies SIMO’s letter motion,

finds that SIMO has violated the Protective Order, and imposes a

sanction on SIMO of $40,000.




1  Specifically, SIMO now seeks disclosure of the following
documents, identified by Bates numbers: UCLOUDLINK0217228,
UCLOUDLINK0217231, UCLOUDLINK0010784, and UCLOUDLINK0010899. All
except UCLOUDLINK0010899 were the subject of SIMO’s earlier
discovery motion before this Court.
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      In its earlier denial of SIMO’s motion, the Court noted that

the situation might be different if the court in the Chinese

lawsuit had ordered or requested disclosure. See Mem. Order, ECF

No. 317, at 5 n.2. This is because the Protective Order provides,

in paragraph 21, that the Protective Order is not to be construed

as authorizing a party to disobey a lawful order of another court.

ECF No. 23, at ¶ 21. Thereafter, on November 9, 2020, the Shenzhen

Intermediate People’s Court issued an Investigation Assistance

Order in the Chinese lawsuit that authorized SIMO to provide the

uCloudlink        confidential    documents     to   King    &    Woods   Mallesons

attorneys between November 9 and November 24, 2020. See Pl.’s Ex.

G,   ECF    No.    321-7,    at   2.   Specifically,      the     Shenzhen   court’s

Investigation Assistance Order directed Matthew J. Weldon, a K&L

Gates      attorney    who    represents      SIMO   in     the    above-captioned

litigation, to “provide the necessary assistance” for Zheng Hong

and Ding Guangwei (attorneys at King & Wood Mallesons in the

Chinese lawsuit) to obtain the uCloudlink confidential documents

during that period. Id.; see also Pl.’s Ex. E (Weldon Affidavit),

ECF No. 321-5, at 2.

      Although the Chinese court’s Order expired by its terms on

November 24, 2020, SIMO did not address its new request for

disclosure to this Court until its letter of December 1, 2020.

Nevertheless, this Court approves, ex post facto, any disclosures



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authorized by the Chinese court that were made between November 9

and November 24, 2020.

      Now that the latter date has passed, however, SIMO can no

longer rely on the Investigation Assistance Order to authorize any

further disclosure of uCloudlink confidential documents to King &

Wood Mallesons. The Court therefore denies SIMO’s letter motion to

the extent it seeks authorization for future disclosure of the

uCloudlink confidential documents based on the November 9, 2020

Chinese investigation assistance order.

      However, that does not end the matter, because SIMO now admits

that it shared the uCloudlink confidential documents with four

King & Wood Mallesons attorneys in late November 2018, that is,

almost two years before the Chinese court’s order. See Pl.’s Letter

1, 2; Def.’s Ex. B (Wang Declaration), at ¶ 9–11. Paragraph 5(c)

of   the   Protective   Order    prohibits       disclosure    of   confidential

discovery    material   except    to   court      personnel,    stenographers,

“counsel    retained    specifically       for    this   action,”    and   those

“retained by a party to serve as an expert witness or otherwise

provide specialized advice to counsel in connection with this

action.” Protective Order ¶ 5.

      It is obvious that King & Wood Mallesons was not “retained

specifically for this action.” SIMO is represented in this action

by K&L Gates LLP. As SIMO admits, King & Wood Mallesons was

retained by SIMO subsidiary Skyroam Shenzhen to represent Skyroam,

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a nonparty to this action, in a Chinese patent litigation lawsuit.

See Pl.’s Letter 2. King & Wood Mallesons also represents Skyroam

Shenzhen in the ongoing Chinese trade secret misappropriation

lawsuit. See Wang Declaration ¶ 13. There is no indication in the

record that the King & Wood Mallesons attorneys to whom K&L Gates

provided the uCloudlink confidential documents were even licensed

to practice law outside of China. See id. at ¶ 2.

     Furthermore, despite SIMO’s arguments to the contrary, King

& Wood Mallesons was not “retained to provide specialized advice

to counsel in connection with this action.” SIMO claims that King

& Wood Mallesons’ preexisting representation of SIMO in the Chinese

patent     litigation    case      “expanded         so    that      it    could    provide

specialized advice” on the interplay between this action and the

Chinese patent and trade secret cases. Pl.’s Reply, ECF No. 325,

at 1. SIMO argues that King & Wood Mallesons acted as consultants

providing this specialized advice, because King & Wood Mallesons

and K&L Gates discussed “ensuring consistency in positions across

pending and anticipated litigations and identifying appropriate

entities and persons against whom trade secret misappropriation

claims    could   be    brought.”     Pl.’s      Letter         2;   see    also    Johnson

Declaration,      ECF   No.   322,    at   ¶     8.       If    individuals       providing

“specialized      advice”     in     one   lawsuit             can   include       attorneys

identifying       potential        bases       and        defendants        for     another

lawsuit -- or attorneys assessing whether one lawsuit might affect

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another -- Paragraph 5(c)’s limitation to lawyers retained in

“this action” becomes meaningless.

     Accordingly, the Court finds that Paragraph 5(c) did not

authorize SIMO’s secret disclosure of uCloudlink confidential

documents to King & Wood Mallesons attorneys in November 2018.

     Given SIMO’s clear violation of the Protective Order, the

Court will therefore impose a sanction of $40,000 (i.e., $10,000

for each of the four documents wrongly disclosed), to be paid by

SIMO to the Clerk of the Court, SDNY by no later than December 14,

2020.



     SO ORDERED.

Dated:       New York, NY                       ________________________

             December 7, 2020                   JED S. RAKOFF, U.S.D.J.




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